     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 1 of 25




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

FLORIDA STATE CONFERENCE OF
BRANCHES AND YOUTH UNITS OF
THE NAACP; VOTERS OF TOMORROW             Case No. 4:23-cv-00215-MW-MAF
ACTION, INC.; DISABILITY RIGHTS
FLORIDA; ALIANZA FOR PROGRESS;
ALIANZA CENTER; UNIDOSUS;
FLORIDA ALLIANCE FOR RETIRED
AMERICANS; SANTIAGO MAYER
ARTASANCHEZ; and ESPERANZA
SÁNCHEZ,

     Plaintiffs,
v.

 CORD BYRD, in his official capacity as
 Secretary of State of Florida, et al.,

     Defendants.


                     PLAINTIFFS’ REPLY IN SUPPORT OF
                   MOTION FOR PRELIMINARY INJUNCTION
       Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 2 of 25




                                         TABLE OF CONTENTS

INTRODUCTION ................................................................................................... 1
ARGUMENT ........................................................................................................... 2
     I.        The Court should not abstain or defer resolution of Plaintiffs’
               preliminary injunction motion................................................................. 2
      A.      Burford abstention is unwarranted. .......................................................... 2
      B.      Deferral of Plaintiffs’ preliminary injunction motion is otherwise
              unwarranted. ............................................................................................ 5
     II.       Plaintiffs are substantially likely to succeed on the merits of their
               claims. ..................................................................................................... 6
      A.      The Citizenship Requirement violates the Equal Protection Clause. ...... 6
           1. Strict Scrutiny is the appropriate standard of review. ............................. 7
           2. The Citizenship Requirement fails strict scrutiny................................... 9
      B.   The Citizenship Requirement violates Plaintiffs’ First Amendment
           rights. ..................................................................................................... 12
        1. Voter registration activities are protected core political speech, and the
           Citizenship Requirement cannot survive strict scrutiny. ...................... 12
        2. The Citizenship Requirement severely restricts Plaintiffs’ associational
           rights. ..................................................................................................... 16
     C.    The Citizenship Requirement is preempted by 42 U.S.C. § 1981. ....... 17
     D. The Citizenship Provision and the Information Retention Ban are
          unconstitutionally vague, and the Information Retention Ban is
          unconstitutionally overbroad................................................................. 18
     III. Plaintiffs will suffer irreparable harm absent a preliminary injunction
          now. ..................................................................................................... 21
     IV. The balance of the equities and public interest favor relief. ................. 22
CONCLUSION ...................................................................................................... 22




                                                             i
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 3 of 25




                                 INTRODUCTION

      Defendants’ principal response to Plaintiffs’ motion for preliminary

injunction is that the non-binding interpretive rules they proposed one day before

filing their opposition obviate the need for emergency relief. Not so. Defendants do

not hold the pen on SB 7050; only the Legislature can rewrite laws, and Defendants

cannot remedy their unconstitutionality via rulemaking.

      Indeed, Defendants scarcely address the merits of Plaintiffs’ challenge to SB

7050’s Citizenship Requirement, Fla. Stat. § 97.0575(1)(f), and Information

Retention Ban, Fla. Stat. § 97.0575(7). They all but concede defeat under strict

scrutiny, dance around the plain statutory text, and disregard large swaths of

Plaintiffs’ claims.

      Defendants’ attempts to delay and obfuscate cannot outweigh the significant

harm that Plaintiffs are already suffering from SB 7050. Plaintiffs are planning for

its impact and determining how, if at all, they will enter or sustain voter registration

efforts in the face of the challenged provisions. Absent an immediate injunction, the

Citizenship Requirement and Information Retention Ban will force organizational

Plaintiffs to rebuild their voter registration efforts, reduce the scope and impact of

Plaintiffs’ constitutionally protected voter registration activities, and stop individual

Plaintiffs from engaging in this work altogether.




                                           1
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 4 of 25




                                    ARGUMENT

     I.   The Court should not abstain or defer resolution of Plaintiffs’
          preliminary injunction motion.
      Defendants’ request that the Court stay its hand on Plaintiffs’ claims while the

Secretary engages in rulemaking lacks any legal or practical basis.

            A. Burford abstention is unwarranted.

      Burford abstention is unwarranted because Plaintiffs bring facial

constitutional and federal claims that cannot be resolved by the Secretary’s

rulemaking process.

      The Burford abstention doctrine allows the Court discretion to abstain “in

deference to complex state administrative procedures.” Dream Defs. v. DeSantis,

559 F. Supp. 3d 1238, 1265 (N.D. Fla. 2021). But the Court’s discretionary power

to “[a]bstain[] from the exercise of federal jurisdiction is the exception, not the rule.”

Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 813 (1976);

see Deal v. Tugalo Gas Co., 991 F.3d 1313, 1327 (11th Cir. 2021) (noting Burford

abstention is “an extraordinary and narrow exception to a federal court’s virtually

unflagging obligation to exercise jurisdiction”). This Court should decline to

exercise its discretionary authority to abstain here for at least four reasons.

      First, as this Court has recognized, “[a]bstention is improper when a party

alleges that certain [federal constitutional] rights are threatened.” League of Women

Voters of Fla., Inc. v. Detzner, 354 F. Supp. 3d 1280, 1283 (N.D. Fla. 2018). In


                                            2
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 5 of 25




Detzner, the Court declined to abstain from deciding whether the Secretary’s

prohibition of early voting site locations on college campuses violated the plaintiffs’

constitutional rights because “the law is crystal clear” that “[f]ederal courts do not

abstain” when federal constitutional rights are threatened. Id. In so doing, the Court

noted that “[t]he Supreme Court has repeatedly held abstention is inappropriate

when First Amendment rights [and] voting rights are alleged at issue.” Id. So too

here. The Court should reject Defendants’ invitation to risk Plaintiffs fundamental

constitutional rights.

      Second, “[c]ourts have long recognized that abstention is particularly

inappropriate in an overbreadth or vagueness case grounded upon the First

Amendment.” Hobbs v. Thompson, 448 F.2d 456, 462 (5th Cir. 1971). For example,

in Zwickler v. Koota, the Supreme Court held it was error to abstain from deciding

whether a statute criminalizing the distribution of handbills anonymously violated

the First Amendment right to free expression as impermissibly overbroad. 389 U.S.

241, 252 (1967). In doing so, the Court noted that “forc[ing] the plaintiff who has

commenced a federal action to suffer [] delay . . . might itself effect the

impermissible chilling of the very constitutional right he seeks to protect.” Id. The

same is true here: Plaintiffs should not be forced to chill their constitutionally

protected speech while the Secretary considers whether to adopt rules that may or

may not bring some clarity to unconstitutionally vague and overbroad laws.


                                          3
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 6 of 25




      Third, Defendants’ promised rulemaking will not inform judicial review of

the statute. Florida law prohibits courts from “deferr[ing] to an administrative

agency’s interpretation of [a] statute”; they “must instead interpret such statute or

rule de novo.” Fla. Const. art. V, § 21; see, e.g., Orange Cnty. Fire Fighters Ass’n,

I.A.F.F. Loc. 2057 v. Orange Cnty. Bd. of Cnty. Commissioners, No. 1D22-1427,

2023 WL 3859343, at *1 (Fla. 1st DCA June 7, 2023) (“We no longer defer to an

agency’s interpretation of law.”). Thus, the upcoming rulemaking process provides

no basis for the Court to abstain under Burford.

      Finally, even if the Secretary’s final rule could clarify what “collecting or

handling” means with respect to the Citizenship Requirement, Doc. 92-1 at 72, it

will neither address nor alleviate the statute’s facial discrimination against

noncitizens (Count III) or its restriction on noncitizens’ ability to make and enforce

employment contracts (Count IV). Because Plaintiffs’ equal protection and

preemption claims would still require this Court’s adjudication, the Court should

decline to apply Burford. See, e.g., New Orleans Pub. Serv., Inc. v. Council of City

of New Orleans, 491 U.S. 350, 362 (1989) (determining that Burford was

inapplicable where adjudication of preemption claim would not disrupt the state’s

administrative processes).




                                          4
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 7 of 25




            B. Deferral of Plaintiffs’ preliminary injunction motion is otherwise
               unwarranted.

      Defendants ask the Court to “defer ruling” on Plaintiffs’ emergency

preliminary injunction motion until after September 30, 2023, when they claim

enforcement of the challenged statutes will commence. Doc. 92 (“Opp.”) at 16-17.

This Court should decline Defendants’ wait-and-see approach to preserve Plaintiffs’

fundamental rights.

      To begin, Defendants’ suggestion that Plaintiffs need not trouble themselves

with the challenged provisions until September 30 clashes with the statute’s plain

language. As Defendants recognize, SB 7050’s requirements “are retroactive for any

third-party voter registration organization registered with the department as of July

1, 2023, and must be complied with within 90 days after the department provides

notice” of the statute’s requirements.” Opp. at 11 (quoting Fla. Stat. § 97.0575(12))

(emphasis added). Thus, the statute binds 3PVRO Plaintiffs on July 1. The statute’s

mandate of compliance “within 90 days” means that Plaintiffs must overhaul their

operations well before September 30 to avoid the risk of a penalty. Where, even

under Defendants’ theory, Plaintiffs are vulnerable to crippling fines and felony

charges as of September 30, they can hardly afford to wait for adjudication of their

claims until after that date.

      More importantly, even assuming the rulemaking could resolve every issue

before the Court (it cannot, see supra Section I.A), Plaintiffs’ harm is immediate and

                                          5
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 8 of 25




already accruing. See Doc. 55 (“Br.”) at 42-46; infra Section III. Plaintiffs’

declarations belie Defendants’ assertion that “Plaintiffs are not yet affected” by the

law. Opp. at 17. Plaintiffs have already invested significant time and resources

preparing for SB 7050’s impact, see, e.g., Doc. 54-12 (FL NAACP) ¶ 28, and

Plaintiffs are already chilled from engaging in protected activity, see, e.g., Doc. 54-

10 (Alianza) ¶¶ 21, 25. Only a preliminary injunction can relieve Plaintiffs’ injuries

by preserving the status quo.

      Ultimately, Defendants’ concerns that at some future date some of Plaintiffs’

claims might become moot is no reason to delay adjudication, leaving Plaintiffs to

hope for the best and prepare for the worst. The proper course here is to grant a

preliminary injunction and rescind it should intervening circumstances remedy

Plaintiffs’ substantially likely constitutional harms. See, e.g., Common Cause/Ga. v.

Billups, 554 F.3d 1340, 1356 (11th Cir. 2009) (preliminary injunction remained in

effect until the law at issue was repealed).

    II.   Plaintiffs are substantially likely to succeed on the merits of their
          claims.

           A. The Citizenship Requirement violates the Equal Protection
              Clause.
      Plaintiffs are substantially likely to succeed on the merits of their equal

protection challenge to the Citizenship Requirement because the provision falls far

short of the applicable strict scrutiny standard. And, contrary to Defendants’


                                           6
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 9 of 25




suggestion, forthcoming rulemaking cannot bring the Citizenship Requirement into

constitutional compliance.

                    1.     Strict Scrutiny is the appropriate standard of review.

      Defendants wrongly urge the Court to parse the Citizenship Requirement—

which bars all noncitizens from engaging in voter registration, Fla. Stat.

§ 97.0575(1)(f)—and apply different levels of scrutiny to different noncitizen

subgroups. Opp. at 20-21. Defendants cite no authority supporting such approach.

To the contrary, in Bernal v. Fainter, 467 U.S. 216 (1984), the Supreme Court struck

down a law prohibiting all noncitizens from serving as notaries, holding that “a state

law that discriminates on the basis of alienage can be sustained only if it can

withstand strict judicial scrutiny.” Id. at 218-20; see Graham v. Richardson, 403

U.S. 365, 372 (1971) (subjecting a classification based on “alienage” to strict

scrutiny). Although the Legislature could have distinguished between different

noncitizens, like legal permanent residents and undocumented immigrants, as

Defendants urge this Court to do, courts do not apply different standards of review

for different classifications when the text of the law itself fails to distinguish between

subgroups. Like the Supreme Court in Bernal, this Court should apply strict scrutiny

to the Citizenship Requirement’s broad and undifferentiated ban on all noncitizens.

      The political function exception does not save the Citizenship Requirement

from strict scrutiny. The political function exception is “a narrow exception to the


                                            7
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 10 of 25




rule that discrimination based on alienage triggers strict scrutiny.” Bernal, 467 U.S.

at 220. It applies only to “laws that exclude aliens from positions intimately related

to the process of democratic self-government.” Id. To determine whether a

restriction fits within the narrow political function exception, courts employ a two-

part test, analyzing (1) whether a classification is over or underinclusive and (2) if

the classification is sufficiently tailored, whether the position at issue “necessarily

exercise[s] broad discretionary power over the formulation or execution of public

policies importantly affecting the citizen population.” Id. at 224. Here, the

Citizenship Requirement is overinclusive, and in any event does not implicate the

type of discretionary power subject to the political-function exception.

      The Requirement’s broad classification prohibits all noncitizens from

collecting or handling a voter registration form and engaging in core First

Amendment protected activities. Id. 221-22. Because the Citizenship Requirement

“indiscriminately sweep[s] within its ambit a wide range” of roles, it fails the first

prong, and Defendants’ invocation of the political-function exception fails. Id. at

222-23.

      In any event, the Requirement also fails the second prong, which exempts

from strict scrutiny restrictions on limited positions that “go to the heart of

representative government,” like police officers, public school teachers, and parole

officers. See Foley v. Connelie, 435 U.S. 291 (1978); Ambach v. Norwick, 441 U.S.


                                          8
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 11 of 25




68 (1979); Cabell v. Chavez-Salido, 454 U.S. 432 (1982). This is because these

individuals uniquely employ “discretionary powers” and often have unsupervised

contact with others that influences perspectives on “the government and the political

process.” Bernal, 467 U.S. at 220. In contrast, Plaintiffs’ canvassers are much more

like the notaries in Bernal, a position the Supreme Court held could not

constitutionally be limited to citizens. Id. at 227-28. Like notaries, canvassers do not

wield government power or exercise discretion to enforce or influence policy. And

although “considerable damage could result from the negligent or dishonest

performance of” a notary or a canvasser’s work, the same is true for “numerous other

categories of personnel upon whom we depend for careful, honest service” that are

not “invested either with policymaking responsibility or broad discretion in the

execution of public policy that requires the routine exercise of authority over

individuals.” Id. at 225-26.

      Accordingly, the Citizenship Requirement is subject to strict scrutiny.

                    2.     The Citizenship Requirement fails strict scrutiny.

      Defendants hardly contend that the Citizenship Requirement satisfies strict

scrutiny. See Opp. at 20 (“Rational basis is thus satisfied.”); id. (arguing for political-

function exception to strict scrutiny); see also id. at 28 (arguing that “[p]ost-hoc

rationalizations can be enough” outside of strict scrutiny).




                                            9
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 12 of 25




      And for good reason: the Citizenship Requirement serves no compelling state

interests. Bernal, 467 U.S. at 227. Each of Defendants’ purported state interests

hinges on one unsupported premise: noncitizen “aliens” cannot be trusted with voter

registration applications, either because they “should not be in the country” or

because they “might leave . . . before ensuring that a voter registration application

they collected gets to the relevant election official.” Opp. at 20; Doc. 92-1 at 95-96.1

But nothing in the preliminary injunction or legislative record supports Defendants’

brazen speculation. Instead, the record proves that noncitizens do impeccable voter

registration work and serve as the backbone of many of Plaintiffs’ canvassing

efforts. Doc. 54-6 (VOT) ¶¶ 16-17; Alianza ¶¶ 14-15, 19; Doc. 54-5 (Unidos) ¶¶ 14,

26; FL NAACP ¶ 22. Indeed, the only legislative justification offered for the

Citizenship Requirement was that “there are certain rights in our country that only

citizens get to enjoy.” Doc. 54-4 at 16:18-24.

      Defendants invoke familiar catchphrases such as “safeguarding election

integrity,” “preventing voter fraud,” and “promoting confidence in the election

system,” Opp. at 28, apparently hoping that these vague interests will save the day.



1
 The notion that noncitizens will be deported or choose to leave the country between
the time that they receive a voter registration application and the time that they
provide those applications to a 3PVRO or submit them to the state is a highly
improbable speculation “[w]ithout a factual underpinning,” such that “the State’s
asserted interest lacks the weight [courts] have required of interests properly
denominated as compelling.” Bernal, 467 U.S. at 227-28.
                                          10
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 13 of 25




But their argument as to how the Citizenship Requirement serves these goals is

wholly conclusory. See id. at 29. And while Defendants assert that “[p]rohibiting

non-citizens from collecting or handling voter registration applications is the least

restrictive means to achieve those interests,” id., they fail to explain why this is so

or cite anything in support.

      Moreover, because Defendants invented each of their unsupported “interests”

post-hoc, they cannot save the Citizenship Requirement. Under strict or heightened

scrutiny in the equal protection context, “[t]he [actor’s] justification must be

genuine, not hypothesized or invented post hoc in response to litigation.” United

States v. Brennan, 650 F.3d 65, 106 (2d Cir. 2011) (citing United States v. Virginia,

518 U.S. 515, 533 (1996) (heightened scrutiny), and Shaw v. Hunt, 517 U.S. 899,

908 n.4 (1996) (strict scrutiny)). And contrary to Defendants’ argument that Glenn

v. Brumby, 663 F.3d 1312 (11th Cir. 2011), is inapplicable because it addressed sex-

based discrimination, Opp. at 21, Glenn confirms that courts do not consider post

hoc justifications in cases like this one, alleging equal protection violations

triggering heightened scrutiny. 663 F.3d at 1315.

      Because Defendants cannot identify any actual compelling state interest that

justifies the Citizenship Requirement—much less one that satisfies strict scrutiny—

the Citizenship Requirement is unconstitutional and cannot stand.




                                          11
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 14 of 25




           B. The Citizenship Requirement               violates   Plaintiffs’   First
              Amendment rights.

      The Citizenship Requirement violates Plaintiffs’ First Amendment rights

because voter registration activities are protected political speech, Defendants do not

dispute that the Requirement restricts Plaintiffs’ associational rights, and the

Requirement cannot survive strict scrutiny.

                    1.     Voter registration activities are protected core
                    political speech.

      Defendants concede that “[a]t the heart” of the First Amendment “is the

freedom to engage in ‘political discourse’ and ‘direct one-on-one communication’

about politics” and the “related right” of “the freedom to politically associate.” Opp.

at 24 (quoting Meyer v. Grant, 486 U.S. 414, 424 (1988), and citing NAACP v.

Button, 371 U.S. 415, 417 (1961)). These are the protected First Amendment

activities the Citizenship Requirement tramples. To argue otherwise, Defendants

mischaracterize the Citizenship Requirement as a purely ministerial regulation

without expressive components, contravening binding authority and relevant facts.2




2
  Defendants miscite Pennhurst State School & Hospital v. Halderman, 465 U.S. 89,
106 (1984), for the proposition that the Court must assess the Secretary’s
interpretation of the Citizenship Requirement. Opp. at 25. Pennhurst is inapposite to
the question of controlling interpretations, and, following Defendants’ urged reading
of the Citizenship Requirement, would require the Court to impermissibly modify
state law. See Boos v. Barry, 485 U.S. 312, 330 (1988).
                                          12
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 15 of 25




      Defendants attempt to distinguish Meyer because it involved petition

circulation not voter registration, but both the challenged law in Meyer and the

Citizenship Requirement “‘limit the number of voices’ that could convey the

proponents’ ‘message.’” Opp. at 26 (citing Meyer, 486 U.S. at 422-23). By barring

noncitizens from engaging in core voter registration activities—collecting and

handling voter registration applications—the Citizenship Requirement “reduc[es]

the total quantum of speech on a public issue.” Meyer, 486 U.S. at 422-23.

      Moreover, courts have already rejected Defendants’ argument that voter

registration is not protected First Amendment expression. For example, in League

of Women Voters of Fla. v. Cobb, 447 F. Supp. 2d 1314 (S.D. Fla. 2006), the court

rejected Defendants’ argument that “the collection and submission of voter

registration applications” implicated only “conduct . . . and not the speech

accompanying such conduct.” Id. at 1333. In doing so, the court relied on the

Supreme Court’s decision in Village of Schaumburg v. Citizens for a Better

Environment, 444 U.S. 620 (1980), which rejected another of Defendants’

arguments—that laws purporting to regulate only conduct accompanying protected

speech did not infringe on protected speech. The Schaumberg Court declined to

separate solicitation of political donations from the accompanying speech because

the “reality [is] that solicitation is characteristically intertwined with informative and

perhaps persuasive speech,” and because “the reality [is] that without solicitation the


                                           13
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 16 of 25




flow of such information and advocacy would likely cease.” 444 U.S. at 632.

Following Schaumberg, the Cobb court rejected the argument that a law burdening

voter registration activities did not infringe on protected speech “because [p]laintiffs

could, hypothetically, communicate the same messages to potential voters.” Cobb,

447 F. Supp. 2d at 1333. Just as Defendants do here, the Cobb court found that the

Secretary “ignore[ed] the reality” that “the collection and submission of voter

registration [applications] is intertwined with speech and association.” Id. at 1334.3

      This Court should likewise reject Defendants’ argument that integral voter

registration activities are not expressive conduct. The “reality” is that Plaintiffs’

conduct—the collection and handling of applications—“is characteristically

intertwined with information and [] persuasive speech,” and because of the

Citizenship Requirement, “the flow of such information and advocacy would likely

cease,” or at a minimum, be severely reduced. Cobb, 447 F. Supp. 2d at 1333; Village

of Schaumburg, 444 U.S. at 632; Alianza ¶¶ 19, 22, 25; Unidos ¶¶ 26-41; Doc. 54-7

(Mayer) ¶¶ 11-12; Doc. 54-11 (Florez) ¶ 20; Doc. 54-8 (Sánchez) ¶ 19; VOT ¶ 7.


3
  See also, e,g., Project Vote v. Blackwell, 455 F. Supp. 2d 694, 700 (N.D. Ohio
2006) (“[V]oter registration implicates a number of both expressive and
associational rights which are protected by the First Amendment.”); Am. Ass’n of
People with Disabilities v. Herrera, 690 F. Supp. 2d 1183, 1216 (D.N.M. 2010)
(voter registration “may have a ministerial component, and yet acquire First-
Amendment protection when done in a setting or manner in which the message
becomes apparent”); Project Vote v. Kelly, 805 F. Supp. 2d 152, 176 (W.D. Pa. 2011)
(recognizing voter registration canvassing falls within “the ambit of First
Amendment protection”).
                                          14
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 17 of 25




      None of the cases Defendants rely on compel a contrary conclusion.

Defendants’ selective quotation of League of Women Voters of Fla. v. Browning,

575 F. Supp. 2d 1298 (S.D. Fla. 2008), Opp. at 26, is misplaced because the court

found that “[u]ndoubtedly, Plaintiffs’ interactions with prospective voters in

connection with their solicitation of voter registration applications constitutes

constitutionally protected activity.” Id. at 1321. Defendants also misleadingly quote

Feldman v. Reagan, 843 F.3d 366 (9th Cir. 2016), which involved ballot collection,

not voter registration.

      Defendants also rely on an outlier opinion declining to recognize certain parts

of voter registration activities as protected expression, Voting for America, Inc. v.

Steen, 732 F.3d 382 (5th Cir. 2013). Steen was wrongly decided; cases decided after

Steen have distinguished and departed from it, and this Court should do the same.

See, e.g., VoteAmerica v. Schwab, No. CV 21-2253-KHV, 2023 WL 3251009, at

*13 (D. Kan. May 4, 2023).

       For example, in Tennessee State Conference of N.A.A.C.P. v. Hargett rejected

Steen and applied Meyer, finding that plaintiffs were likely to succeed in their First

Amendment challenges to new voter registration drive regulations. 420 F. Supp. 3d

683, 704, 707 (M.D. Tenn. 2019). Distinguishing Steen, the Hargett court was

“skeptical that the First Amendment would countenance ‘slic[ing] and dic[ing] the

activities involved in the plaintiffs’ voter registration drives” because doing so


                                         15
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 18 of 25




would “allow the government to burden the protected aspects of the drive indirectly

and because the ‘entire voter registration activity’” implicates First Amendment

associational freedoms. Id. at 699 (quoting Steen, 732 F.3d at 401, 404 (Davis, J.,

dissenting)). And, as the Hargett court explained, even if Steen’s “disjointed analysis

were permissible,” the Citizenship Requirement “is likely to have a chilling effect

on the entirety of the drive, including its communicative aspects.” Id.; Alianza ¶ 22;

Florez ¶¶ 19, 20; NAACP ¶ 20; Doc. 54-13 (Volusia NAACP) ¶ 10; VOT ¶ 7;

Sánchez ¶ 19.

                    2.    The Citizenship Requirement             severely   restricts
                    Plaintiffs’ associational rights.
      Defendants fail to address Plaintiffs’ arguments regarding the Citizenship

Requirement’s burden on their associational rights. Defendants offer no counter to

Plaintiffs’ arguments, for instance, that the Requirement severely burdens Plaintiffs’

associational activities and that strict scrutiny applies. See Br. at 37-38; Fla. Atl.

Univ. Bd. of Trs. v. Parsont, 465 F. Supp. 3d 1279, 1299 (S.D. Fla. 2020) (noting

defendants’ failure to respond to an argument in a preliminary injunction motion

normally “result[s] in a waiver of any opposition”); Kramer v. Gwinnett Cnty., 306

F. Supp. 2d 1219, 1221 (N.D. Ga.), aff’d, 116 Fed. Appx. 253 (11th Cir. 2004) (table

decision) (“[A] party’s failure to respond to any portion or claim in a motion

indicates such portion, claim or defense is unopposed.”). There is thus no dispute



                                          16
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 19 of 25




that Plaintiffs have demonstrated a substantial likelihood of success on their right of

association challenge to the Citizenship Requirement.

           C. The Citizenship Requirement is preempted by 42 U.S.C. § 1981.

      Defendants do not dispute that the Citizenship Requirement is preempted by

§ 1981 because it “stands as an obstacle to the objective of the federal law.” Club

Madonna Inc. v. City of Miami Beach, 42 F.4th 1231, 1253 (11th Cir. 2022). Indeed,

they provide no analysis of federal preemption at all.

      Instead, they blatantly ignore binding precedent and the nature of Plaintiffs’

claim. First, Defendants attempt to dismiss Takahashi v. Fish & Game Commission,

334 U.S. 410 (1948), and Graham v. Richardson, 403 U.S. 365 (1971), because the

laws at issue in those cases were ultimately invalidated on bases other than

preemption. Opp. at 30. But both cases stand for the fundamental principle that state

laws that conflict with federal law are preempted. Second, Defendants attempt to

import the legal standard for individual employment discrimination claims,

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), to Plaintiffs’ facial

challenge to the Requirement under § 1981 , Doc. 52 at 55-57 (Count IV). Cf. Trans

World Airlines, Inc. v. Thurston, 469 U.S. 111, 121 (1985) (noting “[t]he McDonnell

Douglas test is inapplicable” where the challenged policy is “discriminatory on its

face”). But because the Citizenship Requirement is facially discriminatory,

McDonnell Douglas does not apply.


                                          17
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 20 of 25




           D. The Citizenship Provision and the Information Retention Ban
           are unconstitutionally vague, and the Information Retention Ban is
           unconstitutionally overbroad. 4

      Plaintiffs are substantially likely to succeed on the merits of their claim that

the Citizenship Requirement is unconstitutionally vague because it criminalizes

“handling” “voter registration applications,” without defining either term. Fla. Stat.

§ 97.0575(1). While Defendants offer their subjective interpretation of each term,

their constructions (1) are atextual and (2) arbitrarily exclude ordinary definitions,

and thus “fail[] to provide people of ordinary intelligence a reasonable opportunity

to understand what conduct it prohibits,” and “authorize[] or even encourage[]

arbitrary and discriminatory enforcement.” Wollschlaeger v. Governor, 848 F.3d

1293, 1319 (11th Cir. 2017) (quoting Hill v. Colorado, 530 U.S. 703, 732 (2000)).

      Ignoring the statute’s plain text, Defendants argue that “voter registration

application” actually means “completed voter registration application.” Opp. at 23.

But the statute itself includes no such limitation. Defendants also claim that the

ordinary meaning of “handling” is limited to only some dictionary definitions of the

term, specifically those involving physically touching an application. Id. at 22. But


4
  Defendants’ response to Plaintiffs’ First Amendment challenges to the Information
Retention Ban relies solely on “the Secretary’s interpretation” of the term “personal
information.” Opp. at 32-33. Plaintiffs respond to that argument here and otherwise
rely on the unanswered arguments in their opening brief, Br. at 35-39, in support of
their First Amendment claims. Defendants have waived all other arguments in
opposition. Fla. Atl. Univ. Bd. of Trs., 465 F. Supp. 3d at 1299; see Kramer, 306 F.
Supp. 2d at 122.
                                         18
       Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 21 of 25




“handle” encompasses conduct that Defendants selectively ignore—for example, “to

have overall responsibility for supervising.” Handle, Merriam-Webster’s New

Collegiate Dictionary (7th ed.). Florida statutes typically define “handle” differently

depending on the conduct being regulated. See Br. at 33. Here, it remains unclear

whether noncitizens may “supervise” voter registration, including for example by

reviewing voter registration applications for completeness. Indeed, Defendants’ own

example contradicts their limiting construction; while they claim it is obvious that a

noncitizen cannot have a “stack full of completed applications in his car,” Opp. at

23, it is unclear if a supervising noncitizen would be “handling” voter registration

applications if they ride in a car with a citizen and voter registration applications.

Plaintiffs are left to guess—and one wrong guess can decimate a 3PVRO.

         The Information Retention Ban is also unconstitutionally vague because it

fails to define both the phrases “personal information” and “in compliance with this

section.” 5 Defendants again ignore the statute’s plain language, swapping in

narrower terms of their choosing. The Secretary claims that “personal information”

actually means “private, non-public information,” or “personal sensitive

information.” Opp. at 31-33. But the statute does not limit “personal information” to

any of those categories. And a voter’s home address and cell phone number are just

as “personal” as their driver’s license number—all are unique to and identifying of


5
    For similar reasons, the Ban is also unconstitutionally overbroad. Br. at 39-40.
                                           19
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 22 of 25




a particular person. Instead, the statute provides only examples of personal

information, but the Supreme Court has declined “to apply limiting principles”

where a statute “includes a specific example along with a general phrase,” like here.

Ali v. Fed. Bureau of Prisons, 552 U.S. 214, 227 (2008). If the Legislature intended

to limit “personal information” to only the examples enumerated, it could have listed

only those terms as it has in other laws. See, e.g., Fla. Stat. § 97.0585(1)(c) (defining

specific personal information exempt from public records request).

      Even worse, Defendants’ proposed definition remains vague. What

constitutes “non-public information” or “sensitive” information? Most email

addresses, home addresses, and even phone numbers—which Defendants claim are

not covered—are not public. Perhaps because of the inherent vagueness of the term

“personal information,” numerous other Florida statutes define it explicitly and

differently depending on the conduct being regulated. See Br. at 41; See, e.g., Fla.

Stat. § 322.143 (“‘Personal information’ means an individual’s name, address, date

of birth, driver license number, or identification card number.”). And Defendants do

not contest that the second phrase Plaintiffs argue is unconstitutionally vague, “in

compliance with this section,” could have myriad meanings.

      Defendants’ argument that “rulemaking will confirm” their proposed

definitions, Opp. at 32, does not bring either challenged provision into constitutional

compliance because neither the Secretary nor the Court has authority to modify state


                                           20
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 23 of 25




law. A rule “is an invalid exercise of delegated legislative authority if [it] enlarges,

modifies, or contravenes the specific provisions of law implemented.” Fla. Stat.

§ 120.52(8)(c). Rules that narrow the scope of a statutory provision are also

impermissible. Fla. DBPR v. Walmart Inc., 323 So. 3d 786, 788-89 (Fla. 1st DCA

May 19, 2021), reh’g denied (Aug. 19, 2021). Because it is beyond the rulemaking

authority of the Secretary or any agency to modify or narrow statutes enacted by the

Legislature, the Secretary’s proposed rules, even if adopted, are not binding. See

Milner v. State, 50 So. 3d 711, 714 (Fla. 4th DCA 2010). Nor is the Court at liberty

to narrow the plain text of the statute. See Citizens for Responsible Gov’t State Pol.

Action Comm. v. Davidson, 236 F.3d 1174, 1194-95 (10th Cir. 2000) (court may not

adopt “a construction more restrictive than that provided by [its] plain language”).

   III.   Plaintiffs will suffer irreparable harm absent a preliminary injunction
          now.
      Plaintiffs will suffer irreparable harm if the Citizenship Requirement and

Information Retention Ban go into effect on July 1, 2023. Individual Plaintiffs will

be unable to engage in their work, and Alianza, UnidosUS, Florida NAACP, and

VOT will immediately lose many of their employees and canvassers who execute

their voter registration programs. VOT ¶¶ 16-17; Alianza ¶¶ 14-15, 19; Unidos ¶¶

14, 26; FL NAACP ¶ 22. Even if the Citizenship Requirement and Information

Retention Ban do not take effect until September 30, 2023 (a statement Plaintiffs

cannot rely on, see supra Section I.B), Plaintiffs will still immediately begin

                                          21
    Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 24 of 25




completely reworking their voter registration programs, recruiting and vetting new

canvassers, and devising new voter outreach programs—diverting resources long

before September, and suffering irreparable harm.

   IV.   The balance of the equities and public interest favor relief.
      Defendants claim the public is served when the state enforces its laws, and the

state is harmed when it cannot enforce the laws, Opp. at 34, but this is not the case

when the challenged laws impede constitutional rights. See Otto v. City of Boca

Raton, Fla., 981 F.3d 854, 870 (11th Cir. 2020) (“[I]t is clear that neither the

government nor the public has any legitimate interest in enforcing an

unconstitutional [law].”). Thus, the balance of equities and public interest favor

granting the preliminary injunction.

                                  CONCLUSION
      Plaintiffs respectfully request that the Court issue the requested preliminary

injunction.

                    LOCAL RULE 7.1(F) CERTIFICATION

      The undersigned, Frederick Wermuth, certifies that this motion contains 4,940

words, excluding the case style and certifications.



Dated: June 26, 2023                       Respectfully submitted,

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                                         22
     Case 4:23-cv-00215-MW-MAF Document 94 Filed 06/26/23 Page 25 of 25




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                           CERTIFICATE OF SERVICE
      I hereby certify that on June 26, 2023 I filed a copy of the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                       /s/ Fritz S. Wermuth
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                                        23
